Case 1:17-cv-00067-PAB-MLC Document 78 Filed 02/22/18 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Judge Philip A. Brimmer

  Civil Action No. 17-cv-00067-PAB-CBS

  K.M., by and through his next friends, J.M. and B.J.M.;
  J.M., individually;
  B.J.M., individually;
  M.F., by and through her next friend, W.F.;
  W.F., individually;
  J.S., by and through his next friends, C.S. and F.S.;
  C.S., individually;
  F.S., individually;
  S.K., by and through her next friend, THE ARC OF PUEBLO;
  R.W., by and through her next friend, THE ARC OF PUEBLO;
  K.S., by and through her next friend, THE ARC OF PUEBLO;
  E.P., by and through his next friend, THE ARC OF PUEBLO;
  D.M., by and through her next friend, THE ARC OF PUEBLO;
  R.L., by and through his next friend, THE ARC OF PUEBLO;
  C.H., by and through his next friend, THE ARC OF PUEBLO;
  D.S., by and through his next friend, THE ARC OF PUEBLO;
  R.P., by and through his next friend, THE ARC OF PUEBLO;
  L.V., by and through her next friend, THE ARC OF PUEBLO;
  W.S., by and through his next friend, THE ARC OF PUEBLO;
  T.J.S., by and through his next friend, THE ARC OF PUEBLO;
  B.C., by and through her next friend, THE ARC PIKES PEAK REGION;
  P.B., by and through her next friend, THE ARC PIKES PEAK REGION; and
  ESTATE OF B.B., by and through its personal representative, THE ARC OF PUEBLO,

        Plaintiffs,

  v.

  JOHN W. HICKENLOOPER, JR., in his official capacity as Governor of Colorado;
  COLORADO DEPARTMENT OF HUMAN SERVICES;
  REGGIE BICHA;
  NIKKI HATCH;
  VICKI MANLEY;
  SARAH AURICH;
  TRACY MYSZAK;
  LAURA DEVRIES;
  JENNIFER BURKE;
  MICHELLE OHNEMUS;
  MARIT MELAND;
  ISAAC LAWAL;
  SARAH LIPPE;
Case 1:17-cv-00067-PAB-MLC Document 78 Filed 02/22/18 USDC Colorado Page 2 of 2




  KRISTIE PALUCH;
  CARLA JUAREZ;
  TONY GHERARDINI; and
  JOHN & JANE DOES 1-10,

         Defendants.


                                           ORDER


         This matter comes before the Court upon the parties’ Third Joint Status Report

  Regarding Settlement and Administrative Closure of Case [Docket No. 77], in which the

  parties state that they have entered into a settlement agreement which resolves all

  issues. They request an order of this Court administratively closing this case.

         Having reviewed the matter and being fully advised in the premises, the Court

  finds that this case should be administratively closed subject to reopening for good

  cause shown pursuant to D.C.COLO.LCivR 41.2. Wherefore, it is

         ORDERED that this case is administratively closed pursuant to D.C.COLO.LCivR

  41.2, subject to being reopened for good cause shown. It is further

         ORDERED that, if no party files a stipulation to dismiss the case or a motion to

  reopen the case on or before June 1, 2018, this case will be dismissed with prejudice

  without further notice to the parties.


         DATED February 22, 2018.

                                           BY THE COURT:


                                            s/Philip A. Brimmer
                                           PHILIP A. BRIMMER
                                           United States District Judge



                                              2
